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    8
                              UNITED STATES DISTRICT COURT
    9
                           SOUTHERN DISTRICT OF CALIFORNIA
   10
                                       SAN DIEGO DIVISION
   11
   12
        M.M.M., on behalf of his minor child,    Case No. 3:18-cv-1832-DMS
   13   J.M.A., et al.,
                                                 Honorable Dana M. Sabraw
   14
                         Plaintiffs,
   15
        v.
   16
        Jefferson Beauregard Sessions, III,
   17   Attorney General of the United States,
        et al.,
   18
                         Defendant.
   19
   20                                            Case No. 3:18-cv-428-DMS
        Ms. L, et al.,
   21                                            Honorable Dana M. Sabraw
   22                    Plaintiff,              MEMORANDUM OF POINTS
                                                 AND AUTHORITIES IN
   23   v.                                       SUPPORT OF PLAINTIFFS’
                                                 EMERGENCY MOTION TO
   24   U.S. Immigration and Customs             REQUIRE IMPLEMENTATION
        Enforcement, et al.,                     OF SETTLEMENT AGREEMENT
   25
                         Defendant.
   26
   27

                                                            MEMORANDUM OF POINTS AND
                                                              AUTHORITIES IN SUPPORT OF
                                                         PLAINTIFFS’ EMERGENCY MOTION
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    1         Plaintiffs file this emergency motion in light of a disturbing development on
    2   the heels of the Court’s preliminary approval of the parties’ settlement agreement.
    3   In short, the government indicated today that it intends to go back on its
    4   commitment – made to both Plaintiffs and this Court – to implement the settlement
    5   agreement prior to final approval for families who wish to avail themselves of the
    6   agreed-to procedures. Further delay is unacceptable for families that have already
    7   been in detention for months and are eager to go through procedures the
    8   government agreed to in the settlement.
    9         During a status conference on September 14, 2018, in response to pointed
   10   questions from the Court, counsel for Defendants represented that the government
   11   would “get moving” and begin implementing the agreement without waiting for
   12   final approval:
   13         THE COURT: Okay. And then what about the idea of starting now.
   14         It seems to me that the vast majority of Ms. L. class members and
              MMM class members, once the class is certified, are going to be
   15         onboard and ready to proceed. Is it possible to start right away?
                     The idea of class certification and final approval of the
   16         settlement and a notice and opportunity to object really, I think, will
              apply to a very small handful of potential class members, if any. And
   17         it seems to me that the process could get underway sooner rather than
              later, and not have to wait for final approval. What would the
   18         government’s view be?
              MR. STEWART: Your honor, our tentative view would be that I
   19         think that that is appropriate and we could get moving on this.
   20                I would just say if I do come – if it does come to my attention,
              you know, an impediment or sort of a reason otherwise, may we bring
   21         that to the court’s attention if we realize it?
                     But my hope is with most – you know, as with other plans we
   22         have approved it consistent with our desire to move things
              expeditiously but orderly, we would want to just get moving. If it is a
   23         good plan, we should get moving.
   24   Ex. 74 at 9-10 (emphasis added). The Court then stated that “the parties ought to
   25   get moving,” and that “to the extent you can identify plaintiffs – children and
   26   parents – who want to get started with the various proceedings under 235 or 240,
   27   that we ought to start that right away . . . and then get the process going.” Id. at 10
   28   (emphasis added). The Court also indicated that it wanted the parties to “give a
                                                                  MEMORANDUM OF POINTS AND
                                                  -2-               AUTHORITIES IN SUPPORT OF
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    1   status as to the various proceedings under 235, 240, whatever they might be under
    2   the proposed settlement, so that the Court and the public can keep track of the
    3   parties’ efforts and progress with respect to these asylum claims.” Id. at 11; see
    4   also id. at 14 (Court inquiring about timeline of implementation based on
    5   assumption that “[w]e get started right now” and “235, 240 hearings and all of the
    6   things that are contemplated in the proposed settlement are moving efficiently and
    7   from the earliest possible date”). Thus, the Court (and Plaintiffs) clearly believed
    8   that class members would be able to pursue the processes described in the
    9   agreement before any final approval order.
   10         The government never brought any concerns about this commitment to the
   11   Court’s attention. In fact, it reiterated its commitment in an e-mail to Plaintiffs on
   12   September 20, 2018. That e-mail stated that “[t]he government is undertaking to
   13   implement the parties’ agreement in accordance with the court’s tentative approval
   14   at the last status conference.” Ex. 75. Defendants’ counsel also stated: “As the
   15   government identifies individuals to be processed under the different provisions of
   16   the agreement, and starts to move those processes forward, it is important that we
   17   know ASAP . . . which parents and children wish to pursue the processes set forth
   18   in the agreement, so that there is likewise no unneeded delay in enabling those class
   19   members to move forward.” Id. Plaintiffs have relied upon this representation over
   20   the last several weeks, as described in more detail below.
   21         Now, the government has done an about-face. By e-mail today, Defendants’
   22   counsel stated that the government will not move forward with implementing the
   23   settlement other than to accept class members’ executed notice and waiver forms.
   24   Defendants’ counsel refused to confirm that it would comply with the schedule in
   25   Paragraph 1(g) of the agreement and move forward with the interviews
   26   contemplated in the settlement. Thus, the government is not moving forward with
   27   interviews for any class members, including the more than 60 detained parents and
   28   children Plaintiffs have identified so far as wanting to stay in the United States and
                                                                  MEMORANDUM OF POINTS AND
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    1   invoke the settlement procedures. All of these parents have signed the court-
    2   approved notice and waiver form, and their names and executed forms have been
    3   provided to the government. Per the Court’s instruction, the parties should “get the
    4   process going” for these families by providing the agreed-to interviews and
    5   reporting on the results.
    6         There is no reason for delay at this point, and every reason to move forward
    7   expeditiously. The Court issued a temporary restraining order M.M.M. because it
    8   found that Plaintiffs were likely to succeed on their claim that they have a right to
    9   certain asylum procedures prior to removal – procedures which the government
   10   agreed to in the settlement. The Court has described the settlement agreement as
   11   “excellent” and granted preliminary approval without reservation just yesterday.
   12   As described above, the Court has also emphasized that parents and children should
   13   receive the procedures outlined in the agreement prior to final approval. Most
   14   importantly, these families should have received due process when they first
   15   crossed the border together months ago. Instead, they suffered intense trauma due
   16   to the government’s illegal separation policy, and they are now suffering through
   17   months of prolonged, unnecessary detention. Delay will only further the harm the
   18   government has already inflicted on these families. Their asylum claims should be
   19   heard according to the agreed-to procedures now, not six or more weeks from now.
   20         The government stated today that implementing the settlement prior to final
   21   approval will cause it to incur the burdens of the settlement without any of the
   22   benefits. Not so. Any class member who elects to receive the procedures described
   23   in the agreement will be bound by the terms of the agreement – including the
   24   release. Moreover, every day that the government delays implementation of the
   25   agreement is a day that parents and children decide enough is enough, and choose
   26   to accept removal rather than wait in detention for their asylum claims to be heard.
   27   Indeed, just last week Plaintiffs notified the government that over 40 detained
   28   families decided to accept removal – instead of receive due process – because they
                                                                 MEMORANDUM OF POINTS AND
                                                -4-                AUTHORITIES IN SUPPORT OF
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    1   simply could not wait in detention any longer. While that kind of result may be
    2   optimal from the government’s perspective, it defeats the purpose of this case, the
    3   parties’ settlement, and this Court’s order granting a temporary restraining order. It
    4   is completely at odds with this Court’s desire for a solution that swiftly resolves
    5   Plaintiffs’ claims.
    6         The government’s reversal is made worse by the fact that it prejudices
    7   Plaintiffs, who relied on it in multiple ways over the least several weeks. For
    8   example, Plaintiffs patiently tolerated the government’s unnecessary delay of the
    9   preliminary approval process. Plaintiffs first sent the government draft preliminary
   10   approval papers less than a week after the September 14 status conference, on
   11   September 19. The government then insisted on multiple rounds of minor line edits
   12   to those papers, including a number of edits in the second and third rounds that it
   13   could have made in the rounds prior. Due to this delay, Plaintiffs could not file the
   14   motion for preliminary approval until October 5 (over two weeks after Plaintiffs
   15   sent the first draft to the government), and had to push back the proposed date of
   16   the fairness hearing to November 15. The only reason Plaintiffs tolerated this delay
   17   is because of the government’s representation that it would implement the
   18   settlement agreement prior to final approval. Plaintiffs also would have proposed a
   19   more aggressive notice plan and schedule for final approval had the government not
   20   committed to begin implementation immediately. Finally, the families who already
   21   signed the notice and waiver form did so based on the reasonable belief that their
   22   interviews would proceed expeditiously – not several weeks from now.
   23         Given Defendants’ prior representations on this issue, the Court’s express
   24   desire move this process along with alacrity, and the harm that further delay will
   25   cause to detained class members, Plaintiffs respectfully ask the Court to order the
   26   government to proceed with implementing the parties’ settlement agreement and
   27   order any other relief the Court deems appropriate.
   28
                                                                  MEMORANDUM OF POINTS AND
                                                -5-                 AUTHORITIES IN SUPPORT OF
                                                               PLAINTIFFS’ EMERGENCY MOTION
Case 3:18-cv-00428-DMS-AHG Document 265-1 Filed 10/10/18 PageID.4081 Page 6 of 10



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                                            -6-              AUTHORITIES IN SUPPORT OF
                                                        PLAINTIFFS’ EMERGENCY MOTION
Case 3:18-cv-00428-DMS-AHG Document 265-1 Filed 10/10/18 PageID.4082 Page 7 of 10



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                                                           MEMORANDUM OF POINTS AND
                                            -7-              AUTHORITIES IN SUPPORT OF
                                                        PLAINTIFFS’ EMERGENCY MOTION
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                                                           MEMORANDUM OF POINTS AND
                                            -8-              AUTHORITIES IN SUPPORT OF
                                                        PLAINTIFFS’ EMERGENCY MOTION
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    1                            CERTIFICATE OF SERVICE
    2
    3          I hereby certify that I filed the foregoing MEMORANDUM OF POINTS
    4   AND AUTHORITIES IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION
    5   TO REQUIRE IMPLEMENTATION OF SETTLEMENT AGREEMENT, with the
    6   Clerk of the Court through the ECF system on October 10, 2018. This system
    7   provided a copy to and effected service of this document on all parties.
    8 Dated:     October 10, 2018                EVERSHEDS SUTHERLAND (US) LLP
    9
   10                                            By:     /s/ Wilson G. Barmeyer
   11                                                  Wilson G. Barmeyer
                                                       Attorney for Dora Plaintiffs
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                                                                   MEMORANDUM OF POINTS AND
                                                -9-                  AUTHORITIES IN SUPPORT OF
                                                                PLAINTIFFS’ EMERGENCY MOTION
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     1      M.M.M., on behalf of his minor child, J.M.A., et al. v. Jefferson Beauregard
     2              Sessions, III, Attorney General of the United States, et al.
                                                and
     3         Ms. L, et al., v. U.S. Immigration and Customs Enforcement, et al.
     4
     5
           EXHIBITS TO PLAINTIFFS’ EMERGENCY MOTION TO REQUIRE
     6          IMPLEMENTATION OF SETTLEMENT AGREEMENT
     7
                                    TABLE OF CONTENTS
     8
     9      Exhibit                       Document                             Pages
    10                      Transcript of September 14, 2018 Status
               74                 Conference in Ms. L v. ICE                   11-25
    11
    12         75         September 20, 2018 E-mail from S. Stewart            26-27
                                        to J. Bernick
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                                                             PLAINTIFFS’ EMERGENCY MOTION
